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Jason R. Melzer (027742003)
Elizabeth A. Carbone (116052014)
COLE SCHOTZ P.C.
Court Plaza North
25 Main Street, P.O. Box 800
Hackensack, New Jersey 07602-0800
201-489-3000
201-489-1536 Facsimile
Attorneys for Plaintiff, Redi-Data, Inc.

                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                                Civil Action No. 2:20-cv-17484-JMV-JBC
REDI-DATA, INC.,

                  Plaintiff,                                     Civil Action

                                                          Oral Argument Requested
          v.
                                                        Return date: February 22, 2022
THE SPAMHAUS PROJECT a/k/a THE
SPAMHAUS PROJECT LTD.,

                          Defendant.


 BRIEF IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS PURSUANT TO
              FEDERAL RULE OF CIVIL PROCEDURE 12(b)(2)


Of Counsel and On the Brief:
      Jason R. Melzer
      Elizabeth A. Carbone




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         Plaintiff, Redi-Data, Inc. (“Redi-Data”), respectfully submits this brief in opposition to

defendant, The Spamhaus Project a/k/a The Spamhaus Project Ltd.’s (“Defendant”) motion to

dismiss the complaint filed on November 30, 2020 (the “Complaint”) [Doc. No. 1] for lack of

personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2) (“Rule 12(b)(2)”)

[Doc. No. 15].

                                  PRELIMINARY STATEMENT

         Defendant portrays itself as a “white knight” of the Internet; a stalwart purveyor of tools

and services to assist users against an increasing tide of spam, Phishing, and viruses. Redi-Data

has no problem with this mission. In fact, Redi-Data applauds Defendant’s efforts and

recognizes the value in same. Nevertheless, no matter how well-intentioned Defendant’s mission

is, Defendant’s overly broad approach to combating Internet abuses has, and continues to,

mislabel legitimate businesses as “spammers.” These actions have destructive consequences.

Worse yet, when such errors are brought to Defendant’s attention, Defendant’s actions appear to

generally consists of a “too bad” approach. As Redi-Data will explain and prove at the

appropriate juncture, it is neither a “spammer” nor should its domain name or Internet protocol

addresses (“IP addresses”) have been repeatedly listed on Defendant’s blocklists (which

Defendant is well aware, and intends, to have an impact and effect on a target’s email traffic).

The discrete issue before the Court at this juncture is whether personal jurisdiction can be

constitutionally and fairly exercised over Defendant in this Judicial District. As demonstrated

below, it can be.

         Indeed, Redi-Data is not the only company that has been inappropriately targeted by, and

suffered the destructive effects of, Defendant’s tools and services and sued Defendant in the

United States. To the contrary, on July 21, 2006 Defendant removed a lawsuit that was filed in

the Circuit Court of Cook County, Chancery Division, State of Illinois to the United States


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District Court for the Northern District of Illinois that involved allegations that the plaintiffs

were erroneously identified on Defendant’s ROKSO list and ignored demands that the plaintiffs

be removed from same. See generally e360 Insight, LLC et al. v. The Spamhaus Project, 06-cv-

03958-CPK (N.D. Ill.). Defendant answered the complaint and initially defended the action

without challenging personal jurisdiction, then temporarily withdrew from the action causing a

default that resulted in the issuance of an injunction. See generally e360 Insight, LLC et al. v.

The Spamhaus Project, 06-cv-03958-CPK (N.D. Ill.), Order [Doc. No. 24]. Defendant thereafter

re-appeared and, among other things, challenged jurisdiction, which was denied. The case

concluded in a judgment against Defendant.

         Similarly, in 2019 a lawsuit was commenced in the United States District Court for the

District of Nebraska by DatabaseUSA.com LLC against Defendant based on Defendant

erroneously including the company’s domain names on its blocklists and refusing to remove

same. See generally DatabaseUSA.com LLC v. The Spamhaus Project, 19-cv-00423-JFB-CRZ

(D. Neb.). Jurisdiction in that action was alleged to be based on Defendant’s effect on business

in the jurisdiction and its direct electronic communications with the plaintiff. DatabaseUSA.com

LLC v. The Spamhaus Project, 19-cv-00423-JFB-CRZ (D. Neb.), Compl. [Doc. No. 1].

Ultimately, the District of Nebraska found, based on further evidence presented in an affidavit

from one of the plaintiff’s corporate officers, that jurisdiction was proper over Defendant as

“defendant knowingly engaged in activities in the State of Nebraska by selling internet services

to providers who do business in Nebraska.” DatabaseUSA.com LLC v. The Spamhaus Project,

19-cv-00423-JFB-CRZ (D. Neb.), Order [Doc. No. 16]. A judgment and permanent injunction

was issued against Defendant. DatabaseUSA.com LLC v. The Spamhaus Project, 19-cv-00423-




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JFB-CRZ (D. Neb.), Judgment [Doc. No. 34] & Permanent Injunction [Doc. No. 35]. An

exercise of personal jurisdiction over Defendant is likewise appropriate here.

         As the Court is aware, in considering motions to dismiss for lack of personal jurisdiction,

this Court (generally stated) is tasked with determining whether an exercise of personal

jurisdiction under the specific circumstances of the case would comport with both due process

and fundamental fairness concerns. See Section I, infra. To aid in this evaluation, a court may

consider the allegations asserted in the complaint as well as any other evidence outside of the

pleadings offered in the context of the motion (or is otherwise judicially noticeable). If a court

makes a personal jurisdictional determination without an evidentiary hearing, the plaintiff need

only make a prima facie showing that an exercise of jurisdiction is appropriate. Moreover, any

allegations made in the complaint and factual disputes must be construed in favor of the plaintiff

– here, Redi-Data.

         As described more fully herein and alleged in the declarations submitted herewith, this

Court can exercise specific jurisdiction over Defendant, either under a traditional analysis or

under the analysis set forth in Calder v. Jones, 465 U.S. 783 (1984). See Section II, infra. As

the record reflects, Defendant runs an interactive website that is accessible to, and used by,

businesses operating in New Jersey, including, without limitation, Internet service providers

(“ISPs”). See Section II(A), infra. Risking redundancy, personal jurisdiction over Defendant

was previously found in the United States District Court for the Northern District of Illinois on

this basis. Moreover, Defendant has electronically communicated with individuals and

businesses residing or operating in New Jersey about Redi-Data and its blocklists as well as

directly to Redi-Data and, by its own records, investigated Redi-Data’s business. These

deliberate contacts indisputably arise out of or relate to the lawsuit at issue. Furthermore,



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Defendant has not, and cannot, assert any significant countervailing fairness concerns that would

defeat personal jurisdiction. In contrast, if this Court were to decline jurisdiction, Redi-Data

would be left without a venue to protect its rights and business. As such, specific jurisdiction

can be exercised over Defendant under a traditional analysis.

          Personal jurisdiction is also appropriate under Calder v. Jones, which applies here given

the intentional torts alleged in the Complaint. See Section II(B), supra. As the email

communications appended to the Buckley Declaration evidence, since May 2016 Defendant has

been aware (or, at the very least, should have been aware) that Redi-Data is located in New

Jersey. Even if not, which is unlikely, surely Defendant came across this information in its

review of Redi-Data’s website referenced in a 2020 ROKSO list. Defendant has also been aware

that its actions have been harming Redi-Data, which harm is indisputably felt in New Jersey

(where Redi-Data is located and conducts business). Defendant was advised of this via a June

19, 2018 demand letter, which also refers to New Jersey (e.g., Cole Schotz P.C.’s address for

replies), and May 2020 email communications involving Amazon. Yet, despite this, Defendant

has continued to refuse to alter its actionable behavior or justify its blocklist listings. In short,

Defendant’s actions evidence tortious conduct that is expressly aimed at Redi-Data. If nothing

else, jurisdictional discovery is warranted and appropriate. See Section III, infra.

          For all of these reasons, which are elaborated on below, Defendant’s motion should be

denied.

           STATEMENT OF FACTS AND RELEVANT PROCEDURAL HISTORY

          For the sake of brevity, Redi-Data incorporates by reference herein the: (i) well-plead

allegations set forth in the Complaint; (ii) the Declaration of Thomas Buckley dated January 28,

2022 (the “Buckley Declaration”); (iii) the Declaration of Elizabeth Carbone dated January 31,

2022 (the “Carbone Decl.”); (iv) the contents of any exhibits appended to either the Buckley

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Declaration or the Carbone Declaration; and (v) and the admissions made in the Declaration of

Stephen John Linford dated December 22, 2021 (the “Linford Decl.”) [Doc. No. 15-2].

                                       LEGAL ARGUMENT

         I.       THE STANDARD ON MOTION TO DISMISS PURSUANT
                  TO RULE 12(b)(2).

         A “court may assert personal jurisdictional over a nonresident defendant of the state in

which the court sits to the extent authorized by the law of the state” provided that such an

exercise “comports with the Due Process Clause of the Fourteenth Amendment.” Vectra Visual,

Inc. v. Hoving, No. 21-cv-03296, 2021 WL 4520339, at *3 (D.N.J. Oct. 4, 2021) (citation and

quotations omitted). If a defendant challenges jurisdiction through a motion to dismiss under

Rule 12(b)(2), “the plaintiff ‘bears the burden of demonstrating the facts that establish personal

jurisdiction.’” Back2Health Chiropractic Ctr., LLC v. Sentienl Ins. Co., Ltd., No. 20-cv-6717,

2021 WL 960875, at *3 (D.N.J. Mar. 15, 2021) (citation omitted). Such facts may be established

by “affidavits or other competent evidence that jurisdiction is proper[,]” and “all disputed facts”

must be construed “in favor of plaintiff.” Id. (citations and quotations omitted); MaxLite, Inc. v.

ATG Elec., Inc., 193 F. Supp. 3d 371, 382 (D.N.J. 2016) (citations and quotations omitted).

         If the “court ‘resolves the jurisdictional issue in the absence of an evidentiary hearing and

without the benefit of discovery, the plaintiff need only establish a prima facie case of personal

jurisdiction.’” Back2Health Chiropractic Ctr., LLC, 2021 WL 960875 at *3 (citation omitted).

In this event, the court also “take[s] the allegations of the complaint as true.” Id. (citation and

quotations omitted). A prima facie case is made out “by ‘establishing with reasonable

particularity sufficient contacts between the defendant and the forum state.’” Mellon Bank (E.)

PSFS, Nat’l Ass’n v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992) (citations omitted). Once such

a showing is made, the burden shifts to the defendant to “present a compelling case that the


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 presence of some other considerations would render jurisdiction unreasonable.” Vectra Visual,

 Inc., 2021 WL 4520339 at *3 (citation omitted).

          Applying this standard to the matter at hand, Defendant’s motion to dismiss should be

 denied. As described in further detail below, Defendant has purposefully established sufficient

 minimum contacts with this jurisdiction, including, without limitation, aiming tortious behavior

 repeatedly to Redi-Data since 2016, for this Court to exercise specific jurisdiction over

 Defendant in this action. Alternatively, if the Court is unconvinced that specific jurisdiction is

 appropriate on the current record, which it respectfully should be, then the motion should be

 denied without prejudice pending the completion of limited jurisdictional discovery.

          II.      THIS COURT CAN AND SHOULD ASSERT PERSONAL
                   JURISDICTION OVER DEFENDANT.

          Under New Jersey law, the traditional two-step personal jurisdictional inquiry is

 “collapsed into one” question: “whether, under the Due Process Clause, the defendant has certain

 minimum contacts with [New Jersey] such that the maintenance of the suit does not offend

 traditional notions of fair play and substantial justice.” Vectra Visual, Inc., 2021 WL 4520339 at

 *3 (citation omitted); see also Miller Yatch Sales, Inc. v. Smith, 384 F.3d 93, 96 (3d Cir. 2004)

 (“A federal court sitting in New Jersey has jurisdiction over parties to the extent provided under

 New Jersey state law. New Jersey's long-arm statute provides for jurisdiction coextensive with

 the due process requirements of the United States Constitution.”) (citations omitted). Meaning,

 “parties who have constitutionally sufficient ‘minimum contacts’ with New Jersey are subject to

 suit there.” Miller, 384 F.3d at 96 (citation omitted). “[P]urposefully established ‘minimum’

 contacts” evidence that a defendant has “fair warning that its conduct will subject it to the

 jurisdiction of a federal court[]” and “should reasonably anticipate being hauled into court there.”

 Vectra Visual, Inc., 2021 WL 4520339 at *3 (citations omitted).


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          Personal jurisdiction over a nonresident defendant can be predicated on either general or

 specific jurisdiction. As recognized by this Court, “[i]f a defendant is subject to a forum's

 general jurisdiction, [it] can be sued there on any matter. If, however, a defendant is solely

 subject to specific jurisdiction, [it] may only face suit in the forum if its activities concerning the

 forum are related to the claims in the suit.” Id. at *4 (citations omitted). Here, Redi-Data can

 make a prima facie showing that the Court can exercise specific jurisdiction over Defendant.1

                   A.    The Court Can Exercise Specific Jurisdiction Over
                         Defendant.

          Within the Third Circuit, the courts generally utilize a three-part test to ascertain whether

 an exercise of specific jurisdiction over a particular defendant is appropriate. See O’Connor v.

 Sandy Lane Hotel Co., Ltd., 496 F.3d 312, 317 (3d Cir. 2007). Under this test, personal

 jurisdiction is proper where: (1) there is the existence of “purposeful availment”: meaning, “the

 defendant must have purposefully directed [its] activities at the forum[;]” (2) “the litigation []

 arise[s] out of or relate[s] to at least one of those activities[;]” and, assuming the first two

 requirements are met, (3) “the existence of jurisdiction otherwise comport[s] with fair play and

 substantial justice.” Id. (citations and quotations omitted); Adam Techs. LLC v. Well Shin Tech.

 Co., Ltd., No. 18-cv-10513, 2019 WL 3800236, at *3 (D.N.J. Aug. 13, 2019) (citations omitted).

 Each requirement of this traditional specific jurisdiction inquiry is satisfied here.




 1
  Redi-Data is not conceding that general jurisdiction cannot be exercised over Defendant. It is
 possible that Defendant’s contacts with New Jersey rise to a level that would render it subject to
 general jurisdiction in the State. However, Redi-Data does not have sufficient information to
 draw such a conclusion at this time, and does not believe it is necessary to do so because
 Defendant is subject to specific jurisdiction in New Jersey. If jurisdictional discovery were to
 proceed, Redi-Data reserves the right to allege Defendant’s contacts with New Jersey also
 support general jurisdiction.


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                         1.     Defendant Purposefully Directed Activities To
                                New Jersey.

          Defendant feigns ignorance about any sufficient minimum contacts with New Jersey,2 but

 such ignorance is belied by the record. As Redi-Data properly alleges in the Complaint, and as

 elaborated upon through the facts set forth in support of this motion, the Court can exercise

 specific jurisdiction over Defendant.

          At the outset, Defendant’s physical location is irrelevant. “[T]he personal jurisdiction

 jurisprudence is clear: ‘physical presence in the forum is not a prerequisite to jurisdiction.’”

 Christie v. Nat'l Inst. for Newman Studies, 258 F. Supp. 3d 494, 503-04 (D.N.J. 2017) (citation

 omitted). To the contrary, “even a single act can support jurisdiction[]” if that act “creates a

 ‘substantial connection’ with the forum.” Manship v. Stein, No. 21-cv-10389, 2022 WL 203247,

 at *5 (D.N.J. Jan. 24, 2022). This is not a case in which Defendant exists in isolation in another

 country. As Defendant admits, it “provides real time, actionable” information “to Internet

 networks, ISPs and other Internet users worldwide.” Linford Decl. at ¶ 5. In fact, Defendant’s

 “data is today used by the majority of the Internet ISPs, email service providers, corporations,

 universities, governments and military networks[]”).3 Carbone Decl., Ex. A (copy of

 Defendant’s “About Spamhaus” webpage) (emphasis added). According to Defendant,

 “Spamhaus realtime threat and reputation blocklists currently protect over 3 Billion user

 mailboxes* and are responsible for blocking the vast majority of spam and malware sent out on



 2
  In fact, Defendant largely, if not entirely, ignores the specific jurisdiction analysis in its motion
 and instead focusing solely on the Calder Effects Test, which is described and addressed infra.
 See Section II(B), infra.
 3
  To the extent the Court has concerns about what companies and what ISPs utilize Defendant’s
 services and operate in New Jersey, such an issue should be explored through jurisdictional
 discovery.


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 the Internet.” Id. Logically, the foregoing includes businesses located or operating in New

 Jersey and New Jersey residents.

          Furthermore, and contrary to Defendant’s assertions, Defendant does not run a passive

 website. Defendant’s website does not merely display information for those searching the

 Internet without a means for interaction with Defendant. To the contrary, Defendant’s website is

 interactive: people or entities may contact Defendant through email or Twitter and it offers

 services to businesses operating in New Jersey, among others.4 These interactive aspects militate

 in favor of a finding of personal jurisdiction. See, e.g., Zippo Mfg. Co. v. Zippo Dot Com, Inc.,

 952 F. Supp. 1119, 1123-24 (W.D. Pa. 1997) (describing a sliding scale between Internet activity

 and personal jurisdiction).

          Specifically, in addition to providing a vast array of information and recommendations,

 Defendant offers access to its DBL, SBL, and ROKSO through its website. Individuals and/or

 companies can also follow Defendant through Twitter. See, e.g., Carbone Decl., Ex. A (copy of

 Defendant’s “About Us” webpage). Defendant also offers, through authorized independent

 contractors,5 a managed DNSBL Datafeed service for a fee, which service is typically “for users

 with professional DNSBL query requirements, such as corporate networks and ISPs[,]” and can

 be set up to “provide[] rapid data synchronizations between Spamhaus DNSBL servers and local

 servers on client networks.” See, e.g., Carbone Decl., Ex. B (copy of Defendant’s “Spamhaus


 4
  This can be inferred both by the admitted breadth of the audience Defendant caters to (e.g., the
 self-described majority of ISPs, governments, network administrators) as well as the fact that
 ISPs Redi-Data contracted with for services in New Jersey clearly were using Defendant’s
 blocklists and other services. See generally Buckley Decl.
 5
  One of these alleged authorized independent contractors for “North America” is listed as
 Security Zones, which boasts clients including, without limitation, Yahoo!, AT&T, Columbia
 University, Virgin Media, LinkedIn, Aol., and Aflac, among others. See Carbone Decl., Exs. D-
 E.


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 DNSBL Datafeed” webpage). The service “is supplied as a yearly subscription, with a Service

 Level Agreement and Technical Support.” Id. Specifically,

                   The Datafeed service is supplied as a yearly subscription, with a Service
                   Level Agreement and Technical Support. Pricing is based on the total
                   number of Email Users your organization provides email service for. You
                   can also try the service completely free for 30 days before agreeing to
                   purchase it.

                   [Id.]

 Defendant even recommends and encourages ISPs to have an Acceptable Use Policy (“AUP”)

 and offers a tool through which an ISP can create one through its website. See Carbone Decl.,

 Ex. C (copy of Defendant’s “ISP Area” webpage). In addition, Defendant encourages such

 policies to allow an ISP to “terminate a customer account upon receiving an SBL notification

 from Spamhaus” and encourages checking IP addresses against its blocklists. Carbone Decl., Ex.

 F at p. 2 (copy of Defendant’s “How hosting providers can battle fraudulent sign-ups” webpage).

 Defendant also encourages, and provides tools and services for, hosting providers to

 “check[]” new customer IP addresses prior to permitting a “new customer sign[]-up[.]” Id. at p.

 3. On multiple locations in the website users can contact Defendant electronically. See Carbone

 Decl., Ex. D at pp. 6-7 (contact us querry). Consequently, any claim that Defendant passively

 provides information is belied by its own website.

          ISPs, email service providers, and corporations operating in New Jersey are using

 Defendant’s information and, upon information and belief, its services, as properly alleged in the

 Complaint and evidenced by the Buckley Declaration. See, e.g., Compl. at ¶ 9 (referring to

 Defendant as directing and engaging in activities within New Jersey, among other things) & ¶¶

 34-36 (referring to business interruptions caused by Defendant’s listings); Buckley Decl. at ¶¶ 6-

 21 (referring to ISPs operating in New Jersey that utilized Defendant’s services); Carbone Decl.,

 Ex. D (referring to a North American partner) & Ex. E (referring to clients of Defendant’s North

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 American partner). As elaborated upon in the Buckley Declaration, several ISPs operating in

 New Jersey seemingly utilize Defendant’s services and data, including, without limitation,

 Comcast, AT&T, IBM/Silverpop, Amazon, GoDaddy, and HostGator. Buckley Decl. at ¶¶ 6-21

 & Exs. G, J, & K-N. For illustrative purposes, by way of an email sent on October 1, 2020,

 HostGator advised Redi-Data that it received – not located – a ROKSO report from Defendant

 and, based on same, permanently suspended Redi-Data’s account.6 Buckley Decl., Ex. M at p. 1.

 Amazon likewise appears to have received the report from Defendant. Buckley Decl., Ex. L at

 pp. 4-5.

          At least one other court in the United States has exercised jurisdiction over Defendant on

 this basis. See, e.g., DatabaseUSA.com LLC v. The Spamhaus Project, No. 19-cv-00423-JFB-

 CRZ, Order [Doc. No. 16] (D. Neb.).7 Specifically, in a case strikingly similar to the one at

 hand, in an Order dated February 5, 2020, the Honorable Joseph F. Bataillon of the United States

 District Court for the District of Nebraska granted the plaintiff’s motion for default judgment

 against Defendant. Id. In so doing, the DatabaseUSA.com LLC Court found that Defendant was

 subject to the jurisdiction of that court because “it appears that defendant knowingly engaged in

 activities in the State of Nebraska by selling internet services to providers who do business in

 Nebraska.” Id. at p. 3. As the case here, the complaint in the District of Nebraska action alleged



 6
   Logically, this may have been a result of Defendant’s DNSBL Datafeed service, but
 jurisdictional discovery (if necessary) can confirm as much as well as the existence of other
 customers doing business in New Jersey and using Defendant’s services and tools.
 7
   For the Court’s ease of reference, the Order from this action have been appended to the
 Carbone Declaration as Exhibit “G.” In addition, Redi-Data has appended the affidavit
 proffered in that action in support of the motion for default judgment in which the plaintiff
 certifies that “Spamhaus lists are utilized by major companies and platforms in the United States,
 including Microsoft Outlook and ISPs throughout the country[]” as Exhibit “H” to the Carbone
 Declaration.


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 that jurisdiction was proper given Defendant’s “impact on business and transactions occurring in

 the State of Nebraska[,]” and “specifically directed communications[.]” DatabaseUSA.com LLC

 v. The Spamhaus Project, No. 19-cv-00423-JFB-CRZ, Compl. at ¶ 2 [Doc. No. 1]. Further

 evidence presented through an affidavit proffered in connection with a motion for default

 judgment further declared that Defendant’s “lists are utilized by major companies and platforms

 in the United States, including Microsoft Outlook and ISPs throughout the country.”

 DatabaseUSA.com LLC v. The Spamhaus Project, No. 19-cv-00423-JFB-CRZ, Affidavit [Doc.

 No. 14-1]. The same is true here – Defendant has (as described below) directed electronic

 communications to New Jersey and concededly offers services to the “majority” of ISPs, which

 (as this action demonstrates) affects business being transacted in New Jersey. In addition,

 Defendant also unsuccessfully challenged personal jurisdiction in a case previously pending in

 the United States District Court for the Northern District of Illinois under the caption e360

 Insight et al. v. The Spamhaus Project, No. 06-cv-3958-CPK (N.D. Ill.).

          In addition to its interactive website and active business with ISPs, Defendant also

 actively investigates businesses, including, without, limitation, New Jersey businesses. In

 Defendant’s own words, Defendant is actively involved in tracking activities, Linford Decl. at ¶

 5, “maintains” its lists, id. at ¶ 7, and “provid[es] realtime actionable and highly accurate threat

 intelligence to the Internet’s major networks, corporations, and security vendors[]” in addition to

 “working with law enforcement agencies to identify and pursue spam and malware sources

 worldwide.” See Carbone Decl., Ex. A (copy of Defendant’s “About Spamhaus” webpage).

 Defendant’s employees are even described as “investigators, forensic specialists, and network

 engineers[.]” Linford Decl. at ¶ 6 (employees generally) & ¶ 11 (SBL-dedicated employees).

 More specifically, Defendant’s DBL and SBL are “maintained” by specialists who both can add



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 or remove listings based on subjective considerations of undisclosed criteria set by Defendant.

 See, e.g., Linford Decl. at ¶¶ 12-13 & ¶ 15; Carbone Decl., Ex. I at pp. 2-3 (copy of Defendant’s

 DBL FAQ webpage referring to the team, responsibilities, and removal); id. at Ex. J at p. 1 (copy

 of Defendant’s SBL FAQ webpage referring to “around the clock” maintenance). Similarly,

 “[t]he ROKSO database collates information and evidence on each spam operation to assist ISP

 Abuse Desks and Law Enforcement Agencies.” Id. at Ex. K at pp. 1-2 (copy of Defendant’s

 ROKSO FAQ webpage referring to maintenance and Defendant “constantly updating spammer

 profiles with information from many sources[]”). Accordingly, the maintenance of Defendant’s

 blocklists and the subsequent determinations regarding the removal therefrom is an active

 process that involves investigation and the application of subjective criteria.

          Defendant has certainly investigated Redi-Data, a New Jersey company, as reflected in its

 own records. As per the September 30, 2020 entry on the copy of the ROKSO received by

 HostGator,8 Defendant engaged in a “review of” Redi-Data’s website. Buckley Decl., Ex. M at

 p. 1. Redi-Data’s website clearly reflects the location of its corporate headquarters and sales

 offices in New Jersey (and Pennsylvania). See Carbone Decl., Ex. L (copy of Redi-Data’s

 “Contact Us” webpage). The May 6, 2020 entry on the ROKSO also evidences investigation, as

 does the April 5, 2016 entry. Buckley Decl., Ex. M at p. 2 (reference to verifying the nature of

 Redi-Data’s business); id. (April 5, 2016 ROKSO entry claiming that Redi-Data “hired another

 company to spam for it[]”).

          Further militating in favor of specific jurisdiction in this case, Defendant engaged in

 electronic communications with companies located in or operating in New Jersey. Electronic



 8
   At the risk of stating the obvious, Defendant’s dissemination of its ROKSO also is a form of
 electronic communication.


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 communications are a factor this Court should consider in the minimum contacts analysis.

 Parkway-Kew Corp. v. Harris Machine Tools, Inc., No. 20-cv-6044, 2020 WL 6375790, at *4

 (D.N.J. Oct. 30, 2020) (“Communications between parties over mail, telephone, and e-mail,

 however, factor into a court's minimum contacts analysis.”) (citations omitted); Miller Yacht

 Sales, Inc., 384 F.3d at 100 (citing Grand Entm’t Grp., Ltd. v. Star Media Sales, Inc., 988 F.2d

 476, 482 (3d Cir. 1993)). Electronic communications are particularly noteworthy where, as here,

 the emails indicate where the recipient was located, which assists in demonstrating purposeful

 direction. See, e.g., Am. Bd. of Internal Med. v. Rushford, No. 14-cv-6428, 2015 WL 5164791,

 at *5 (D.N.J. Sept. 2, 2015).

          As alleged in the Complaint and elaborated upon in the Buckley Declaration, Defendant

 has been communicating with Redi-Data and ISPs doing business in New Jersey throughout the

 years. See, e.g., Buckley Decl. at ¶¶ 6-21; Compl. at ¶¶ 37-39 (referring to removal requests and

 demand letter). Defendant has communicated both directly with Redi-Data, see Buckley Decl. at

 ¶ 12 & Ex. E, as well as indirectly with Redi-Data and with ISPs concerning Redi-Data. See,

 e.g., id. at ¶ 14 & Ex. G (referencing communications between IBM/Silverpop and Defendant);

 id. at ¶ 16 & Ex. J (referencing communications between Odyssey and Defendant); id. at ¶ 17 &

 Exs. K-L (referencing communications between Amazon and Defendant). As far back as May 4,

 2016, Defendant received email communications from Redi-Data clearly referring to its New

 Jersey location within the message. See, e.g., Buckley Decl., Ex. A at p. 4 (signature block

 setting forth Redi-Data’s Fairfield, New Jersey address). Similarly, and contrary to Defendant’s

 assertion that the demand letter “did not mention New Jersey,” Memorandum of Law in Support

 of Defendant’s Motion to Dismiss the Complaint (“Def.’s Br.”), p. 17, the demand letter invited




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 Defendant to contact Redi-Data’s attorneys (e.g., its agents), whose New Jersey’s address is

 listed on the top of the first page. Buckley Decl., Ex. H at p. 1.

          These communications, along with the services offered and investigations launched by

 Defendant, are sufficient for this Court to find that Defendant has the necessary minimum

 contacts with New Jersey for this Court to constitutionally exercise jurisdiction over Defendant.

 As recognized by this Judicial District, “[a]ll that is required to meet [the purposeful availment]

 standard is at least a single deliberate contact with the forum state that relates to the cause of

 action.” Am. Bd. of Internal Medicine, 2015 WL 5164791 at *4 (citation and quotations

 omitted). Accordingly, the first requirement of any specific jurisdiction analysis is satisfied.

                         2.     This Litigation “Arises Out Of” The Foregoing
                                Activities.

          With respect to the second requirement—to wit, the “arise out of or relate” requirement—

 this inquiry is fact-sensitive and requires something “closer and more direct causal connection

 than that provided by the but-for test.” Parkway-Key Corp., 2020 WL 6375790 at *5 (citation

 omitted). The courts have, however, recognized that “there is no specific rule susceptible to

 mechanical application[.]” Id. (citation omitted).

          This action indisputably “arises from and relates to” the foregoing contacts with New

 Jersey. Indeed, as set forth in the Complaint and elaborated upon in the Buckley Declaration,

 this case arises out of the services that Defendant offers to businesses and ISPs through its

 interactive website, its blocklist listings, and alleged investigations it conducted, which falsely

 identified Redi-Data as a “spammer,” and electronic communications referring to Redi-Data as a

 spammer and/or giving the impression of same. See generally Compl. Redi-Data is not a

 spammer and does not engage in any nefarious activity that should get it listed on Defendant’s




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 DBL, SBL, or ROKSO.9 See Buckley Decl. at ¶¶ 2-5; Compl. at ¶¶ 12-21. As such, Redi-Data’s

 claims are inextricably linked to Defendant’s contact with this State and, as such, the second

 requirement of any specific jurisdiction analysis is satisfied.

                         3.      The Notions Of Fair Play And Substantial
                                 Justice Clearly Weigh In Favor Of This Court’s
                                 Exercise Of Personal Jurisdiction Over
                                 Defendant.

          The third and final requirement of the specific jurisdiction analysis—fairness—also

 supports the exercise of personal jurisdiction in this matter. In order to “defeat jurisdiction based

 on this fairness inquiry, a defendant must ‘present a compelling case that the presence of some

 other considerations would render jurisdiction unreasonable.’” Miller Yacht Sales, Inc, 384 F.3d

 at 97 (citation omitted); Christie, 258 F. Supp. 3d at 507 (describing cases in which a defendant

 can defeat personal jurisdiction on fairness grounds as rare). Indeed, “[b]ecause Defendants have

 minimum contacts with New Jersey and the Plaintiffs’ claim arises out and relates to those

 contacts, the exercise of personal jurisdiction is presumptively reasonable.” Manship, 2022 WL

 203247 at *8 (setting forth factors to consider regarding fairness).

          Requiring Defendant to defend itself in this jurisdiction in connection with this action will

 not offend any notion of fair play or substantial justice. At the outset, “[t]here is no general policy

 or special consideration providing any type of deference for nonprofits that commit tortious

 behavior from avoiding being hauled to court.” Christie, 258 F. Supp. 3d at 508 (collecting cases).

 Moreover, “New Jersey maintains a significant policy interest in protecting [ ] residents of its state


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   To be clear, the mere placement on the DBL and SBL is not, as Defendant suggests, the sum
 total of the conduct alleged in the Complaint. Contra Def.’s Br. at p. 17. To the contrary, Redi-
 Data alleges that it repeatedly reached out to Defendant to explain, directly and through an
 intermediary, the nature of its business and Defendant’s error, yet Defendant refused to explain,
 reconsider, or stop its listings pertaining to Redi-Data on blocklists. Compl. at ¶¶ 31-46;
 Buckley Decl. at ¶¶ 6-21.


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 against [tortious conduct].” Id. at 509 (collecting cases) (citations and quotations omitted). In

 addition, Redi-Data has an interest in obtaining convenient and efficient relief. If this Court were

 to decline jurisdiction, Redi-Data may very well be without any efficient, convenient, or even

 reasonable venue to defend its rights and prosecute its meritorious claims against Defendant. It is

 highly unlikely that Redi-Data would be able to commence a civil lawsuit against Defendant in

 Andorra. Further, while perhaps some evidence and witnesses would be located in Andorra, given

 the rise and use of virtual technology to prosecute and defend cases in the last two years, the

 location of witnesses and documents would not weigh heavily (if at all) against this Court’s

 exercise of jurisdiction in this case. See, e.g., Green v. William Mason & Co., 996 F. Supp. 394,

 396 (D.N.J. 1998) (“Geography is not the touchstone of fairness. In an age when business is

 routinely conducted by electronic technology, and air travel brings the two national coasts within

 hours of each other, state boundaries are less relevant to the determination of fairness.”).

 Defendant has also been sued in the United States twice before.

          In short, there is no compelling reason for this Court to disregard Plaintiff’s choice of

 forum, which is its state of incorporation and the location of its principal place of business, on

 fairness grounds. Accordingly, the exercise of specific jurisdiction here is both constitutional and

 fundamentally fair under the circumstances.

                   B.    The Calder Effects Test Applies Here.

          Notwithstanding the foregoing, even were the Court to find that the traditional exercise of

 specific jurisdiction is not proper, jurisdiction would be pursuant to the “Calder Effects Test,”

 which Defendant concedes would apply here. See Def.’s Br. at p. 15. Indeed, the fact that

 Defendant’s tortious activity occurred via the Internet does not affect whether the Calder Effects

 Test is applicable. See, e.g., Christie, 258 F. Supp. 3d at 500 (“[W]hether tortious conduct is



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 committed via the Internet or in more traditional means, does not change the inquiry of the

 location where Defendants purposefully aimed their alleged cyberactivity.”) (citations omitted).

          It is well-settled that in cases involving intentional torts, such as here, the Calder Effects

 Test is implicated. MaxLite, Inc., 193 F. Supp. 3d at 384 (citing Calder v. Jones, 465 U.S. 783

 (1984)). As recognized by this Court, “[t]he Calder Effects Test ‘can demonstrate a court’s

 jurisdiction over a defendant even when the defendant’s contacts with the forum alone [] are far

 too small to comport with the requirements of due process under our traditional analysis.” Id.

 (citation omitted). Stated another way, “[u]nder Calder, ‘an intentional tort directed at plaintiff

 and having sufficient impact upon [the plaintiff] in the forum may suffice to enhance otherwise

 insufficient contacts with the forum such that the minimum contacts prong of the Due Process

 test is satisfied.” Id. (citation and quotations omitted). The courts of the “Third Circuit

 construe[] the Calder Effects Test to require that: (1) that the defendant committed an intentional

 tort; (2) that the plaintiff felt the brunt of the harm in the forum such that the forum can be said to

 be the focal point of the harm suffered by the plaintiff as a result of that tort; and (3) that the

 defendant expressly aimed his tortious conduct at the forum such that the forum can be said to be

 the focal point of the tortious activity.” Strategic Prod. & Serv., LLC v. Integrated Media Tech.,

 Inc., No. 18-cv-00694, 2019 WL 2067551, at *6 (D.N.J. May 10, 2019) (citation omitted). Such

 requirements are met here.

          First, Redi-Data alleges in the Complaint that Defendant committed intentional torts –

 e.g., tortious interference and defamation – which satisfies the first prong of this analysis. See

 Compl. at ¶¶ 65-90; see also Buckley Decl. at ¶¶ 6-21; Def.’s Br. at p. 17 (conceding that Redi-

 Data alleges in the Complaint that Defendant has “erroneously plac[ed] Redi-Data’s IPs and

 domains on its DNSBLs[]”). Distilled to its essence, and as alleged in the Complaint, Defendant



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 has defamed and tortiously interfered with Redi-Data’s business, prospective business, and

 contracts by routinely and improperly listing its domain names and IP addresses on its blocklists

 and refusing to engage in any meaningful discussions about its justifications for doing so or

 promptly removing Redi-Data’s domain names and IP addresses. Compl. at ¶¶ 31-79; Buckley

 Decl. at ¶¶ 6-21 (further elaborating on the allegations of the Complaint as they pertain to

 personal jurisdiction). These actions, which have also formed the basis of the prior lawsuits in

 Nebraska and Illinois, have been entirely disruptive to Redi-Data’s business and resulted in the

 loss of customers, the termination of service contracts, and lost business. Compl. at ¶¶ 62-64,

 71-72, 77-79, & 89; Buckley Decl. at ¶¶ 5, 9-10, 13, 15, 17, & 19-20. While the merits of these

 claims will be further borne out through discovery, it is indisputable that Defendant is alleged to

 have committed intentional torts. See, e.g., MaxLite, Inc., 193 F. Supp. 3d at 388 (tortious

 interference with contract claim was “an intentional tort sufficient to satisfy the first prong of

 Calder[]”) (citation omitted); Calder, 465 U.S. at 788-91 (involving a defamation claim).

          Furthermore, the harm Redi-Data suffered as a result of Defendant’s action was felt in

 New Jersey, Redi-Data’s principal place of business and state of incorporation. Compl. at ¶ 6;

 Carbone Decl., Ex. L at p. 1. It is well-settled that the harm suffered by a company as a result of

 Defendant’s defamation and tortious interference is felt in the forum of company’s principle

 place of business. See, e.g., MaxLite, Inc., 193 F. Supp. 3d at 388 (with respect to tortious

 interference with contract, “the brunt of the harm caused by the alleged intentional tort must

 necessarily have been felt by [the plaintiff] in [the forum], as [the plaintiff's] business practice is

 based in [the forum][]”) (citation omitted); Oticon, Inc. v. Sebotek Hearing Sys., LLC, 865 F.

 Supp. 2d 501, 518-19 (D.N.J. 2011) (“The Court also finds that Plaintiff has established the

 second prong of the Calder test, that the focal point of the harm was felt in New Jersey. Plaintiff



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 has its principle place of business in New Jersey, and Plaintiff alleges that the alleged tortious

 conduct impacted and harmed its business.”); Calder, 465 U.S. at 790 (brunt of injury resulting

 from a defamatory article felt where the plaintiff lived and worked). This cannot be legitimately

 disputed.

          That said, in cases involving torts committed via the Internet, the focus of the second and

 third prongs of the Calder Effects Test (which subjects are the bulk of Defendant’s opposition)

 “should focus on where a defendant intended to direct its tortious conduct and whether that

 defendant knew, or should have known, its activities would be felt in that forum state.” Christie,

 258 F. Supp. 3d at 503. Here, Defendant posits that the Calder Effects Test cannot be satisfied

 because: (1) Defendant was never aware of where Redi-Data was located and (2) even if

 Defendant was aware of this fact, the alleged conduct was neither directed nor targeted at New

 Jersey. Def.’s Br. at p. 17. Neither argument withstands scrutiny.

          As a threshold matter, contrary to Defendant’s argument, Defendant was aware of Redi-

 Data’s location as early as May 2016—Redi-Data’s corporate headquarters location is listed in

 its signature blocks. See, e.g., Buckley Decl., Ex. A at p. 4 (signature block reflecting New

 Jersey address). Over the years, Defendant actively communicated with Redi-Data through

 removal requests as well as indirectly through ISPs operating in New Jersey. See Section II(A),

 supra. Moreover, Defendant actively investigated and analyzed Redi-Data’s business and

 website, on which Redi-Data’s address is also prominently displayed. See, e.g., Buckley Decl.,

 Ex. M at p. 1 (displaying a Sept. 30, 2020 ROKSO entry that indicated Redi-Data’s website had

 been reviewed and a May 2020 entry indicating Defendant “verif[ied]” Redi-Data’s business);

 Carbone Decl., Ex. L at p. 1. If that were not sufficient, which it is, Redi-Data’s counsel’s

 address (a New Jersey location) was clearly displayed in the demand letter. Buckley Decl., Ex.



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 H at p. 1 (demand letter). In short, Defendant’s claim of ignorance as to Redi-Data’s location is

 unpersuasive.10

          Defendant was also aware that its improper actions were harming Redi-Data. On no less

 than two occasions Redi-Data expressed to Defendant that its actions were causing harm to its

 business. First, Redi-Data sent a demand letter on June 19, 2018 that noted Redi-Data’s business

 operations were being “negatively impacted.” Buckley Decl., Ex. H at p. 2. That demand letter

 was ignored. Two years later, in communications to Defendant indirectly through Amazon,

 Redi-Data again advised that Defendant’s actions were “potentially adversely affect[ing] Redi-

 Data financially[.]” Buckley Decl., Ex. L at p. 2. This notice was also ignored.

          Finally, the record supports a finding that Defendant intended to direct (e.g., expressly

 aimed) its tortious conduct to Redi-Data and New Jersey. As far back as May 2016 (and while

 Defendant knew or should have known of Redi-Data’s location), Redi-Data has been disputing

 Defendant’s criteria and inclusion of its domain names and IP addresses on Defendant’s

 blocklists. However, Defendant has repeatedly and continually refused to stop improperly listing

 Redi-Data’s domain names and IP addresses, rejected requests to be removed from those

 blocklists even after tracking Redi-Data’s IP addresses and “verifying” its business “by

 [checking [Redi-Data’s] website.” Buckley Decl., Ex. M (ROKSO list entries). Defendant even

 refuses to explain its justification (e.g., its “criteria”) for including Redi-Data on its blocklists. In

 fact, Defendant merely appears to have suggested at points that Redi-Data “wait it out.” See



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   Even if Defendant could plausibly claim ignorance as to where Redi-Data would feel any
 harm, Defendant’s “claim of ignorance cannot defeat personal jurisdiction.” Christie, 258 F.
 Supp. 3d at 505 (noting in cases involving Internet torts under the CFA that courts “have
 reasoned that if an Internet tortfeasor claims ignorance of where his tortious conduct will be felt,
 but knows his conduct will result in an injury, his claim of ignorance cannot defeat personal
 jurisdiction.”).


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 Buckley Decl., Ex. E (refusing to disclose the criteria for inclusion on the DBL and stating that

 “DBL listings expire over time, so if our systems do not see your domain for a while it will drop

 out of the DBL zone.”); id. at Ex. A at p. 1 (“[I]t is apparent that [Redi-Data] do[es] not view

 your business as spam. That puts us in a fundamental disagreement. I don’t see a way around

 this.”).

            Perhaps the clearest example of deliberate targeting, however, is Defendant’s disregard of

 the June 19, 2018 demand letter from New Jersey counsel. See Buckley Decl., Ex. H. In fact,

 the demand letter was not only ignored, Defendant thereafter continued to place Redi-Data’s

 domain names and IP addresses on its blocklists. See, e.g., Buckley Decl. at ¶¶ 16-21; Compl. at

 ¶¶ 43-47. In light of the foregoing, Defendant should have known that its conduct would be felt

 in New Jersey, which satisfies the third prong of the Calder Effects Test in cases involving the

 Internet contrary to Defendant’s argument. Christie, 258 F. Supp. 3d at 505 (“In this case, based

 on the alleged facts, Defendants actively communicated with Plaintiff in New Jersey, and

 affirmatively directed tortious conduct via the Internet at Plaintiff who they knew was located in

 New Jersey at that time. Thus, I find that Defendants expressly aimed tortious conduct at

 Plaintiff in New Jersey and knew that Plaintiff would feel the brunt of the harm in New Jersey.”).

            At bottom, “because Defendant[] deliberately targeted a New Jersey resident—who

 Defendant[] knew was in New Jersey when [it] targeted [the company]—with tortious conduct,

 Defendant[] should have reasonably anticipated being hauled to court in New Jersey.” Id. at 506.

 To the extent there are any disputed issues of fact with respect to the foregoing, those disputes

 must be resolved in favor of Redi-Data in the absence of jurisdictional discovery and an

 evidentiary hearing. See Section I, supra. Consequently, specific jurisdiction can be

 constitutionally exercised by this Court over Defendant under the Calder Effects Test.



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          III.     ALTERNATIVELY, JURISDICTIONAL DISCOVERY IS
                   APPROPRIATE.

          To the extent the Court has any lingering doubt concerning its ability to assert personal

 jurisdiction over Defendant, which it should not, or if there exist any factual issues that cannot be

 resolved in favor of Redi-Data, the Court should provide an opportunity for jurisdictional

 discovery. It is well-settled that “[a] court should ‘ordinarily allow [limited jurisdictional

 discovery] when a plaintiff’s claim to personal jurisdiction is not clearly frivolous.’” N.J. D.E.P.

 v. E.I. du Pont de Nemours & Co., Nos. 19-cv-14758, 19-cv-14765, 19-cv-14766, & 19-cv-

 14767, 2021 WL 6064842, at *7 (D.N.J. Dec. 20, 2021) (citation omitted) (alterations in

 original). Indeed, “[i]f a plaintiff presents factual allegations that suggest ‘with reasonable

 particularity’ the possible existence of the requisite ‘contacts between [the party] and the forum

 state,’” the plaintiff is entitled to conduct jurisdictional discovery before the court dismisses for

 lack of personal jurisdiction. Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 456 (3d Cir.

 2003) (citations omitted).

          Redi-Data’s allegations certainly suggest, with reasonable particularity, that Defendant

 has sufficient contacts with New Jersey such that an exercise of jurisdiction over Defendant

 would be both constitutional and fundamentally fair. See Section II, supra. It is likely that

 further evidence of these contacts exists. This further evidence includes things like: (i) the

 existence of companies operating or located in New Jersey that pay for Defendant’s DNSBL

 Datafeed or otherwise use/used Defendant’s services (e.g., its AUP creation tool); (ii) the exact

 manner and nature of any removal investigations conducted by Defendant; (iii) internal response

 to Redi-Data’s June 19, 2018 demand letter; (iv) any records reflecting other New Jersey

 companies that access the DBL, SBL, and/or receives the ROKSO list regardless of payment for

 services (e.g., any individuals or entities using Defendant’s “free trial” for the DNSBL


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 Datafeed); and (v) other authorized representatives operating in New Jersey. These facts would

 have jurisdictional significance and thus their existence militates in favor of jurisdictional

 discovery.

                                           CONCLUSION

          For all the foregoing reasons, Defendant’s motion to dismiss should be denied.

 Alternatively, if the Court is unconvinced, the motion should be denied without prejudice

 pending the completion of jurisdictional discovery.


                                                        Respectfully submitted,

                                                        COLE SCHOTZ P.C.
                                                        Attorneys for Redi-Data Inc.


                                                        By:    /s/ Elizabeth A. Carbone
                                                               Jason R. Melzer
                                                               Elizabeth A. Carbone

 DATED: January 31, 2021




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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and complete copy of the foregoing document has been served

 on January 31, 2022, via CM/ECF to all counsel of record.


                                       By:    /s/ Elizabeth A. Carbone
                                              Attorneys for Plaintiff, Redi-Data, Inc.




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